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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

 UNITED STATES OF AMERICA,                         )   CASE NO.: 1:22CR721
                                                   )
                Plaintiff,                         )   JUDGE CHRISTOPHER A. BOYKO
                                                   )
        v.                                         )
                                                   )
 ISAAC WOOLLEY,                                    )   GOVERNMENT’S MOTION
                                                   )   FOR PSYCHIATRIC OR
                Defendant.                         )   PSYCHOLOGICAL EVALUATION OF
                                                   )   THE DEFENDANT AND TO CONTINUE
                                                   )   TRIAL

       The United States of America, through its counsel, Rebecca C. Lutzko, United States

Attorney, and Brian S. Deckert and Daniel J. Riedl, Assistant United States Attorneys, hereby

respectfully moves this Court, pursuant to Federal Rule of Criminal Procedure 12.2(c) and Title

18, United States Code, Section 4242, to order a psychiatric or psychological examination of the

defendant, Isaac Woolley (“Woolley”). The purpose of this examination is to determine

Woolley’s sanity at the time of the charged offenses and identify any mental disease, defect, or

condition which may bear upon Woolley’s guilt. The United States also requests a continuance

of the trial currently scheduled for Augst 12, 2024.

       On November 28, 2022, Woolley was arrested pursuant to a criminal complaint filed

against him the previous day. (R. 1: Complaint and Affidavit, PageID 1-9). He appeared before

Magistrate Judge Thomas M. Parker on the day of his arrest and was ordered detained on a

preliminary basis. On December 5, 2022, Magistrate Judge Jennifer Dowdell Armstrong held a

joint preliminary and detention hearing. At the hearing, Woolley’s appointed attorney expressed

concerns about Woolley’s mental competency and orally moved for an evaluation of Woolley.

Magistrate Judge Armstrong granted the motion and referred Woolley to the Bureau of Prisons
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for a mental competency evaluation. While awaiting Woolley’s examination, the United States

filed an indictment against him, charging him with Entering Aircraft or Airport Area in Violation

of Security Requirements, 49 U.S.C. §§ 46314(a) and (b)(2); Violence at International Airports,

18 U.S.C. § 37(a)(2); two counts of Carjacking, 18 U.S.C. § 2119(1); Destruction of Aircraft or

Aircraft Facilities, 18 U.S.C. § 32(a)(3); and Destruction of Aircraft or Aircraft Facilities, 18

U.S.C. § 32(a)(5). (R. 12: Indictment, PageID 38-41). Upon completion of the mental

competency examination conducted by Heather Ross, Ph.D., at FCI Butner, this Court held a

competency hearing on June 20, 2023, at which time Woolley was found competent to stand

trial. See R. 14: *SEALED* Psychiatric Report.

       On June 14, 2024, Woolley filed a notice pursuant to Federal Rule of Criminal Procedure

12.2(a) and (b) declaring his intent to assert a defense of insanity at the time of the alleged

offenses and to offer expert evidence of his mental condition. (R. 37: *SEALED* Notice). As a

result of Woolley’s notice, the United States respectfully moves, under Rule 12.2(c) and Title 18,

United States Code, Sections 4242(a) and 4247(b), for a psychiatric or psychological

examination of Woolley to evaluate his sanity at the time of the charged offenses and for

Woolley to be committed to the custody of the Attorney General for placement in a suitable

facility at which that evaluation will take place. The United States requests that the Court

recommend that Woolley be transferred to FCI Butner to be evaluated by Heather Ross, Ph.D.,

who previously examined Woolley in order to determine his competency to stand trial. The

United States also respectfully moves, pursuant to Federal Rule of Criminal Procedure 12.2(c),

for a court-ordered evaluation of Woolley for any mental disease, defect, or condition which may

bear on his guilt. The United States further requests a continuance of this matter to allow time

for completion of the evaluation and for the government to thoroughly investigate Woolley’s




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insanity assertion and respectfully requests this Court find that the "ends of justice" served by a

continuance outweigh the interest of the public and the defendant in a speedy trial, and that the

delay occasioned by such continuance is excluded from the Speedy Trial Act's time limits. The

government further requests that this Court state the reasons for granting the continuance on the

record either orally or in writing in order to satisfy the requirements of 18 U.S.C. §

3161(h)(8)(A). The undersigned attorney for the government spoke with counsel for Woolley,

Jacqueline A. Johnson, who indicated that she does not object to the requests made herein.

          Wherefore, the United States moves this Court to grant its motion for continuance of trial,

order a psychiatric or psychological evaluation of Woolley and make findings sufficient to

exclude the time required for the completion of said evaluation from the Speedy Trial Act. The

United States requests that Woolley be transferred to FCI Butner to be evaluated by Heather

Ross, Ph.D., who has already examined Woolley in order to determine his competency to stand

trial.



                                                        Respectfully submitted,

                                                        REBECCA C. LUTZKO
                                                        United States Attorney

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